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                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                               WACO DIVISION


KOSS CORPORATION,

         Plaintiff,
                                          Case No. 6:20-cv-00663-ADA
         v.
                                          DEMAND FOR JURY TRIAL
PLANTRONICS, INC. and
POLYCOM, INC.,

      Defendants.


KOSS CORPORATION,

         Plaintiff,
                                          Case No. 6:20-cv-00664
v.
                                          DEMAND FOR JURY TRIAL
Skullcandy, Inc.,

        Defendant.



KOSS CORPORATION,

         Plaintiff,
                                          Case No. 6:20-cv-00665
         v.

APPLE INC.,
                                          DEMAND FOR JURY TRIAL
        Defendant.




     PLAINTIFF KOSS CORPORATION’S OPENING CLAIM CONSTRUCTION BRIEF




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I.       Introduction

         Plaintiff Koss Corporation (“Koss”) brought this lawsuit to rectify infringement of a series

of patents Koss developed as an early adopter of technology that modern consumers take for

granted: headphone technology. Koss has been a pioneer in this space for more than 50 years,

and the instant series of lawsuits demonstrate that the giants of the modern wireless headphone

industry have only succeeded on the shoulders of Koss’ pioneering work.

         In this regard, Koss has asserted six patents against the defendants: U.S. Patent Nos.

10,206,025 (“the ‘025 Patent”) (attached hereto as Exhibit A); 10,298,451 (“the ‘451 Patent”)

(attached hereto as Exhibit B); 10,368,155 (“the ’155 Patent”) (attached hereto as Exhibit C);

10,469,934 (“the ‘934 Patent”) (attached hereto as Exhibit D); 10,491,982 (“the ‘982 Patent”)

(attached hereto as Exhibit E); and 10,506,325 (“the ‘325 Patent”) (attached hereto as Exhibit F)

(collectively, the “Patents-in-Suit”).1 The Patents-in-Suit are generally directed to wireless

headphone technology, but also reflect successes certain defendants have had in home speaker

technology using pioneering device configuration techniques. (Dkt. No. 12, Compl. for Patent

Infringement, ¶¶ 23-59 (July 23, 2020)). Apple, Inc., Plantronics, Inc., Polycom, Inc., and

Skullcandy Inc., (collectively “Defendants”) through their proposed constructions, seek to add

unclaimed limitations without any need, let alone support.

         Pursuant to an email request granted on February 16, 2021, Koss provides this “omnibus”

brief addressing all eleven terms across the six patents asserted against the three captioned



1
     The ’025 Patent, the ’155 Patent, the ’025 Patent, the ’982 Patent, and the ’325 Patent are
     continuations and share a specification; they may be referred to collectively herein as the
     “Headphone Asserted Patents.” The ’451 Patent is unrelated (by patent family) to the
     Headphone Asserted Patents.
2
     Docket citations are to the documents filed in Koss Corp. v. Apple Inc., Case No. 6:20-cv-
     00665.

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Defendants. This brief is being filed in all three matters, but is identical across all three, consistent

with the proposal presented by the parties and adopted by the Court in its February 16 email.

II.      Legal Overview

         “It is a ‘bedrock principle’ of patent law that ‘the claims of a patent define the invention to

which the patentee is entitled the right to exclude.’” (Fed. Cir. 2005). The general rule is that claim

terms are given their plain-and-ordinary meaning, which is the “meaning that the term would have

to a person of ordinary skill in the art in question at the time of the invention.” Id. at 1312-13.

         “There are only two exceptions to this general rule: 1) when a patentee sets out a definition

and acts as his own lexicographer, or 2) when the patentee disavows the full scope of a claim term

either in the specification or during prosecution.” Thorner v. Sony Comput. Entm’t Am. LLC, 669

F.3d 1362, 1365 (Fed. Cir. 2012). For the first exception, if the patentee is acting as his own

lexicographer, the patentee must “‘clearly set forth a definition of the disputed claim term,’” and

“‘clearly express an intent’ to redefine the term” in either the specification or during prosecution.

Id. Absent a clear articulation in the specification or prosecution history, this exception cannot

apply.

         For the second exception, the patentee’s statements disavowing the full scope of a claim

must represent “‘a clear disavowal of claim scope.’” Id. at 1366. A statement is not “a clear

disavowal of claim scope,” when “an applicant's statements are amenable to multiple reasonable

interpretations . . .” 3M Innovative Props. Co. v. Tredegar Corp., 725 F.3d 1315, 1326 (Fed. Cir.

2013).

         In addition to the claims themselves, the patent’s specification and prosecution history may

help in determining the meaning of claim terms; however, improper use of the specification and

the prosecution history may lead to misconstruing the meaning of claim terms. “Although the

specification may aid the court in interpreting the meaning of disputed claim language, particular

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embodiments and examples appearing in the specification will not generally be read in the claims.”

Comark Commc’ns, Inc. v. Harris Corp., 156 F.3d 1182, 1187 (Fed. Cir. 1998). Thus, “the claims

must be read in view of the specification, but limitations from the specification are not to be read

into the claims.” Teleflex, Inc. v. Ficosa N. Am. Corp., 299 F.3d 1313, 1326 (Fed. Cir. 2002).

Additionally, “because the prosecution history represents an ongoing negotiation between the PTO

and the applicant, rather than the final product of that negotiation, it often lacks the clarity of the

specification and thus is less useful for claim construction purposes.” Phillips v. AWH Corp., 415

F.3d 1303, 1317 (Fed. Cir. 2005). Finally, while extrinsic evidence “‘can shed useful light on the

relevant art,’” it is “less significant than the intrinsic record in determining ‘the legally operative

meaning of claim language.’” Id.

           Thorner has been guiding Federal Circuit precedent since its adoption. See Cont’l Circuits

LLC v. Intel Corp., 915 F.3d 788, 797 (Fed. Cir. 2019), cert. denied, 140 S. Ct. 648 (2019).

Moreover, the mere fact that a dispute exists between the parties does not require the adoption of

Defendants’ limiting constructions, or any explicit construction for that matter. Id. Even where a

dispute exists, the proper construction can, and often is, “plain and ordinary meaning.”

Accordingly, Koss proposes that the proper construction for all the terms identified is the plain

and ordinary meaning.

III.       Argument

           The parties have agreed that no construction is necessary for the following terms:

          “a second digital audio source”/ “a second digital audio player”

          “transmit[ting] a communication based on the audible utterances”

          “receive and store credential data for an infrastructure wireless network provided by the

           [a] wireless access point”



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          Koss asserts that all terms in the asserted patents should be afforded their plain and ordinary

meaning and no construction is necessary. Therefore, the Defendants’ identified claim terms and

proposed constructions,3 as set forth below, are improper and should not be adopted.

                  1.     “a remote, network-connected server that is in wireless
                         communication with the mobile, digital audio player”

               Claim Term               Plaintiff’s Proposal             Defendants’ Proposal
    “a remote, network-connected      plain and ordinary         “Wireless communication:
    server that is in wireless        meaning                    communication without wires”
    communication with the
    mobile, digital audio player”

    (’025 Patent – claim 1)
    (’934 Patent – claims 1 and 58)

          Defendants allege the term “wireless communications” should be construed by adding one

word to a two-word phrase: as “communication without wires.” Defendants are apparently

attempting to require no wires anywhere between the mobile, digital audio player and the remote

server. Defendants have not articulated any basis to deviate from the plain and ordinary meaning

of this term, nor have they identified any support in the specification or in the prosecution history

for their unduly limiting proposal. Thus, this claim term should be given its plain and ordinary

meaning.




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      There are some terms identified by Defendants that use slightly different verbiage across the
      Patents-in-Suit, yet Defendants argue that “many of [the claims] include terms and phrases that
      vary only in minor aspects of wording; by identifying a term or phrase below, Defendants
      intend to encompass all additional such variants, even if not explicitly enumerated below.”
      Without acquiescing to the propriety of this assessment, legally or under the Court’s local rules
      identifying limits on the number of terms to address, Koss addresses the terms identified in
      Defendants “Preliminary Identification of Proposed Claim Constructions” and the proposals
      therein. Respectfully, any grammatical issues that arise out of Defendants proposals only serve
      to further support Koss’s position that Defendants’ Proposals are incorrect and cannot be
      adopted.

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                  2.    “the processor is for, upon activation of a user-control of the
                        headphone assembly, initiating transmission of a request to the
                        remote, network-connected server”

               Claim Term            Plaintiff’s Proposal            Defendants’ Proposal
 “the processor is for, upon     plain and ordinary          “Causing the earphone to address a
 activation of a user-control of meaning                     request to the remote, network-
 the headphone assembly,                                     connected server instead of the digital
 initiating transmission of a                                audio player”
 request to the remote, network-
 connected server”

 (’025 Patent – claim 1)
 (’934 Patent – claims 3, 5, 11,
 16, 19, 28, 37, 39, and 60)

         This claim element does not require “address[ing]” in any form or fashion, and Defendants’

attempt to add this concept to a plainly understandable term without justification is improper. By

apparently seeking construction of the disputed claim term beginning with “initiating,” Defendants

proposal suggest that the preceding language should be eliminated in its entirety. This would

render the claim term nonsensical, as it obviates the noun, “the processor,” from the term.

         Further, Defendants’ proposal seeks to limit the language of the claims to a particular

embodiment of the specification without any basis to do so. Defendants likely will point to the

patent’s disclosure of IP addresses of various data sources; however, these embodiments are not

to be imported into the meaning of this claim element. Cont’l Circuits, 915 F.3d at 797 (declining

to import limitations from the specification to the claims in view of Thorner and holding that, even

contested constructions, can be properly found to be “plain and ordinary meaning.”). The mere

fact that a dispute regarding constructions exists does not require the Court to adopt an overly-

limiting, and legally improper, construction. Defendants have not articulated any basis to deviate

from the plain and ordinary meaning of this term, nor have they identified any support in the




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specification or in the prosecution history for their unduly limiting proposal. Thus, this claim term

should be given its plain and ordinary meaning.

                  3.    “in a second audio play mode, the earphones play audio content
                        streamed from the remote, network-connected server”

               Claim Term             Plaintiff’s Proposal             Defendants’ Proposal
 “second audio play mode”           plain and ordinary         “Second audio play mode: a mode in
                                    meaning                    which the earphones communicate
 (’025 Patent – claims 2, 12, 21,                              with the server over an infrastructure
 30, and 42)                                                   wireless network; otherwise
 (’934 Patent – claims 2, 15, 24,                              indefinite”
 36, and 59)

         Defendants allege that “second audio play mode” should be construed as “a mode in which

the earphones communicate with the server over an infrastructure wireless network,” and

therefore, “second audio play mode” is indefinite. Defendants actually seek to construe the isolated

term “mode” and fail to acknowledge the plain and ordinary meaning of “second audio play mode.”

In doing so, they ignore the word “second” and ignore the remaining language in the claim element

that specifies what occurs in the second audio play mode, namely that the “earphones play audio

content streamed from the remote network-connected server.” The language of the claim is clear

on its face, and Defendants’ attempt to rewrite a four-word phrase with 15 words demonstrates the

impropriety of their position.

         Defendants proposal of indefiniteness is also disingenuous; the claim was properly

understood by the examiner during prosecution, and the metes and bounds of the claim are not, as

Defendants would allege, unclear. See Nautilus, Inc. v. Biosig Instruments, Inc., 572 U.S. 898,

901 (2014). Tellingly, Defendants do not seek construction of “first audio play mode,” or suggest

this renders the patent indefinite. Defendants would have this court ignore the language of the rest

of the claim in an effort to support their theory of indefiniteness (which itself rings hollow, as they



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are fully able to articulate a proposed construction and have failed to identify any ambiguity with

either their own construction, or the claim language itself).

         Defendants’ proposal adds unnecessary limitations (in the form of specifying a

communications path) that are not rooted in the specification. Defendants’ proposal also ignores

the language of the claim in an effort to establish indefiniteness. The language of the claim element

itself is clear and there is no need to deviate from that clear language.

                  4.    “a signal strength level for the second wireless communication link”

               Claim Term             Plaintiff’s Proposal             Defendants’ Proposal
 “a signal strength level for the    plain and ordinary         “A measurement of the strength of a
 second wireless                     meaning                    signal received by the [headphone
 communication link”                                            assembly / headphones]”

 (’025 Patent – claims 4, 5, 7, 9,
 14, 15, 17, 19, 23, 24, 26, 28,
 32, 33, 35, 37, 44, 45, 47, 49,
 and 50)
 (’155 Patent – claims 11 and
 12)
 (’934 Patent – claims 4, 6, 8,
 12, 13, 17, 18, 20, 22, 26, 27,
 29, 31, 38, 40, 41, 44, and 58)
 (’982 Patent – claims 6 and 11)
 (’325 Patent – claims 5 and 11)

         Defendants’ proposal adds limitations into the claim without any support for the limitation.

The claim does not require “a measurement” or “a signal received by the [headphone

assembly/headphones]” as Defendants propose. Instead, the claim language is clear and does not

need to be construed. Defendants’ proposal takes clear language and makes it confusing because

it excludes the link for which a signal strength is required: the second wireless communication

link. Defendants have not articulated any basis to deviate from the plain and ordinary meaning of

this term, nor have they identified any support in the specification or in the prosecution history for



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their unduly limiting proposal. Thus, this claim term should be given its plain and ordinary

meaning.

                  5.    “upon activation of the microphone by the user, data are transmitted
                        about the headphone assembly to a remote device”

               Claim Term             Plaintiff’s Proposal              Defendants’ Proposal
 “upon activation of the             plain and ordinary         “Remote: The term “remote,” as used
 microphone by the user, data        meaning                    here and throughout the asserted
 are transmitted about the                                      claims, is indefinite;
 headphone assembly to a                                        alternatively, “remote device” means
 remote device”                                                 a device external to the headphone
                                                                assembly;
 (’025 Patent – claims 8, 18, 27,                               data are transmitted is indefinite”
 36, and 48)
 (’934 Patent – claims 7, 21, 30,
 45, and 61)

         Defendants allege that both “remote” and “data are transmitted” are indefinite; and further

that “remote device” is a device external to the headphone assembly.

         Defendants’ proposal of indefiniteness is disingenuous; the claim was properly understood

by the examiner during prosecution, and the metes and bounds of the claim are not unclear. See

Nautilus, 572 U.S. at 901. There is nothing unclear about the metes and bounds of “remote” or

“data are transmitted.” To the extent that Defendants propose there is a question regarding how

“remote” is “remote,” the use of relative terms and words of degree do not, in and of themselves,

render patent claims invalid. One-E-Way, Inc. v. Int'l Trade Comm'n, 859 F.3d 1059, 1063 (Fed.

Cir. 2017). “[R]elative terms—[such as] “substantial” and “high”—[are] sufficiently definite

because ‘readers . . . skilled in the art of paper making and versed in the use of the . . . machine’

would have ‘no difficulty . . . in determining . . . the substantial [elevation] needed’ for the machine

to operate as specified.” Id. In fact, Apple has a total of 934 Patents that use the term “Remote” in

its claims, Poly has 22, and Skullcandy has two. (Exhibit G, USPTO Search Results). The term



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clearly has an understanding in the industry such that those in the industry are apprised of the scope

of this element. Further, there is simply nothing indefinite about “data are transmitted.”

         Regarding Defendants’ construction for “remote device;” this term is clear and needs no

construction. Defendants’ proposal adds unnecessary limitations (in the form of re-writing clear

language) not rooted in the specification and without any basis for doing so. Defendants’ proposal

also ignores clear Federal Circuit precedent, likely under the guise of unnecessary expert

testimony, in an effort to establish indefiniteness. The language of the claim element itself is clear

and this term needs no construction.

                  6.     “the processor circuits of the headphones are configured to receive
                        firmware upgrades transmitted from a remote network server”

               Claim Term            Plaintiff’s Proposal             Defendants’ Proposal

 “the processor circuits of the     plain and ordinary        The remote, network connected
 headphones are configured to       meaning                   server transmits firmware upgrades to
 receive firmware upgrades                                    the headphone assembly: the remote,
 transmitted from a remote                                    network-controlled server pushes
 network server”                                              firmware upgrades to the earphones
                                                              from the server
 (‘025 Patent – claims 10, 38,
 51)
 (‘155 Patent – claim 13)
 (‘934 Patent – claims 1, 46,
 62)
 (‘325 Patent – claim 9)

         Defendants’ proposal improperly adds limitations not present in the claim. The claim does

not require the server “push” and upgrade as Defendants propose. Instead, the language of the

claim itself (which is written from the perspective of the “processor circuits of the headphones”)

is sufficiently clear and does not need to be construed. Although the specification states that “[t]he

host server 40 (or some other server) may also push firmware upgrades,” (’025 Patent, 9:41-42),

this language does not support limiting this term to the Defendants’ proposed construction.

Additionally, the very next sentence in the specification cuts against the Defendants’ proposed

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construction by stating that “a user could download the firmware upgrades . . . from the host server

. . . .” (Id. at 9:44-45). Thus while the remote network server could push firmware upgrades, the

claims are not so limited. Moreover, Defendants have no basis for importing this limitation, and

certainly have not shown that exclusion of preferred embodiments from the claim scope is

mandated here. Cont’l Circuits, 915 F.3d at 797.

         The language of the claim element itself is clear and this term needs no construction.

                  7.    “data are transmitted about the headphone assembly to a remote
                        device”/”remote device”

               Claim Term            Plaintiff’s Proposal             Defendants’ Proposal
 “data are transmitted about the    plain and ordinary        The term “remote” as used here and
 headphone assembly to a            meaning                   throughout the asserted claims is
 remote device”                                               indefinite;

 (‘025 Patent - claims 8, 18, 27,                             alternatively, “remote device” means
 36, and 48)                                                  a device external to the headphone
 (‘934 Patent - claims 7, 21, 30,                             assembly
 45, and 61)
                                                              data are transmitted about the
                                                              headphone assembly:
                                                              indefinite

         Defendants Poly and Apple identify “data are transmitted about the headphone assembly

to a remote device” separately from the already discussed “upon activation of the microphone by

the user, data are transmitted about the headphone assembly to a remote device.” Skullcandy does

not. As noted above and herein, there is no separate construction for the “upon activation of the

microphone by the use” portion of the already discussed term. Therefore, Koss incorporates its

arguments above regarding why “upon activation of the microphone by the user, data are

transmitted about the headphone assembly to a remote device” is neither indefinite nor requires

any construction, and instead should be interpreted only as its plain and ordinary meaning. Koss




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also contends that Skullcandy’s failure to identify this term confirms that the term needs no

construction.

                  8.    “host servers”

               Claim Term              Plaintiff’s Proposal               Defendants’ Proposal
 “host servers”                       plain and ordinary       A server that hosts a website through
                                      meaning                  which a user inputs credential data
 (’451 Patent - Claims 1 and                                   for at least one infrastructure wireless
 18)                                                           network;

                                                               Alternatively, indefinite

         Defendants’ proposal for “host servers” takes what is a straightforward two-word term and

transforms it into a convoluted 20-word mouthful of a construction; on top of this, Defendants

allege this term is somehow indefinite. There is no basis for taking a clear term such as “host

servers” and adding the volume of limitations in Defendants’ proposal, nor is there any cognizable

theory that the term is indefinite.

         The term “host servers” has been held to not only be definite, but to be sufficiently clear

on its face that it needs no construction. (Exhibit H, Markman Order in CTX Systems, Inc. v.

Academy, LTD et al., Case No. 2:18-cv-00171 RWS-RSP (E.D. Tex. Sept. 5, 2019) at 55; Exhibit

I, Markman Order in Summit 6 LLC, v. HTC Corp. et al., Case No. 7:14-cv-00106-O (N.D. Tex.

March 21, 2015) at 20). While those cases involve different patents and different facts, the orders

are at least indicative of the definiteness of the term “host servers.”

         Defendants’ proposal to import a limitation from the specification into this claim is a thinly

veiled attempt to adjudicate infringement at claim construction. Because this claim term is clear

and definite, it should be afforded its plain and ordinary meaning.




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                  9.    “wherein the headphone assembly is configured, with the processor,
                        to transition automatically from playing digital audio content received
                        wirelessly by the headphone assembly via a first wireless network to
                        playing digital audio content received wirelessly by the headphone
                        assembly via a second wireless network”

               Claim Term           Plaintiff’s Proposal            Defendants’ Proposal

 “wherein the headphone            plain and ordinary       wherein the headphone assembly is
 assembly is configured, with      meaning                  configured, with the processor, to
 the processor, to transition                               transition automatically from playing
 automatically from playing                                 digital audio content received
 digital audio content received                             wirelessly from a source by the
 wirelessly by the headphone                                headphone assembly via a first
 assembly via a first wireless                              wireless network to playing digital
 network to playing digital                                 audio content received wirelessly
 audio content received                                     from the source by the headphone
 wirelessly by the headphone                                assembly via a second wireless
 assembly via a second wireless                             network
 network”

 (‘155 Patent – claim 1)


         Although Defendants purport to construe the entire “wherein” clause, the only difference

between the language of the claim and Defendants’ proposal is the introduction of the phrase “from

a source.” No basis exists, and Defendants cannot identify any, to add this language to the claim

element, therefore this term should be given its plain and ordinary meaning.

                  10.    “wherein the docking station comprises a power cable for connecting
                        to an external device”

               Claim Term           Plaintiff’s Proposal            Defendants’ Proposal

 “wherein the docking station      plain and ordinary       External device: A computing device
 comprises a power cable for       meaning
 connecting to an external
 device”

 (’982 Patent – claim 2)
 (‘325 Patent – claim 1)




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         Here, in claim 2 of ‘982 patent, the term, “wherein the docking station comprises a power

cable for connecting to an external device,” should be given its plain and ordinary meaning.

Defendants’ proposal adds unnecessary limitations not rooted in the specification. Although the

specification states that “[t]he docking station may be connected to or part of a computer device”

(’982 Patent, 7:2-3), this language hardly supports limiting this term to the proposed construction.

While an example of an external device may be a computing device, the claims are not so limited.

Because the language of the claim element is clear, no construction is necessary.

                  11.   “a passive, wireless rechargeable power source”

               Claim Term            Plaintiff’s Proposal            Defendants’ Proposal
 “a passive, wireless               plain and ordinary       A capacitor; otherwise, indefinite
 rechargeable power source”         meaning

 (‘982 Patent - Claim 17)
 (‘325 Patent - Claims 8 and
 17)

         Defendants’ proposal seeks to limit the language of the claims to an embodiment of the

specification as well as import unclaimed limitations from the specification. No basis exists to do

either. Defendants may argue that the patents’ disclosure of capacitors (e.g., ’982 Patent at 6:60-

7:12) supports their proposal, but Koss has not disavowed any scope to this claim and no

construction is necessary.

IV.      Conclusion

         Koss respectfully asks this Court to reject Defendants’ insupportably narrow constructions

for the terms addressed above and instead adopt Koss’s proposal that the terms need not be

construed and that the plain and ordinary meaning of the terms, as evidenced by the words of the

claims themselves, be adopted.




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Dated: February 19, 2021                    Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify on February 19, 2021, I electronically filed the foregoing with the Clerk

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